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                United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                                   January 12, 2018

By the Court:

UNITED STATES OF AMERICA,           ]              Appeals from the United
        Plaintiff-Appellee,         ]              States District Court for
                                    ]              the Northern District of
Nos. 17-1650, 17-2854, 17-2858,     ]              Illinois, Eastern Division.
     17-2877, 17-2899, 17-2917,     ]
     17-2918, 17-2931 and 17-3449 v.]              No. 1:13-cr-00774
                                    ]
BYRON BROWN, also known as B-Rupt, ]               John J. Tharp, Jr.,
WILLIAM FORD, GABRIEL BUSH, PARIS ]                     Judge.
POE, DERRICK VAUGHN, STANLEY VAUGHN,]
ARNOLD COUNCIL, GREGORY CHESTER and ]
RODNEY JONES,                       ]
       Defendants-Appellants.       ]
------------------------------------]
UNITED STATES OF AMERICA,           ]              Appeal from the United
        Plaintiff-Appellee,         ]              States District Court for
                                    ]              the Northern District of
No. 17-3063                v.       ]              Illinois, Eastern Division.
                                    ]
GREGORY CHESTER,                    ]              No. 1:13-cr-00288
        Defendant-Appellant.        ]
                                    ]              John J. Tharp, Jr.,
                                    ]                   Judge.

      This matter comes before the court for its consideration of attorney William O.
Walters’ MOTION TO WITHDRAW, filed on December 6, 2017 in 17‐3449. Upon
consideration thereof,

       IT IS ORDERED that the Motion to Withdraw is GRANTED.

      IT IS FURTHER ORDERED that Thomas W. Patton, Chief Federal Defender,
401 Main Street, Peoria, IL, 61602, is appointed to represent defendant‐appellant
Rodney Jones in 17‐3449. Counsel is directed to contact the defendant‐appellant
immediately.

      Briefing in these consolidated appeals remains SUSPENDED pending a ruling on
counsel’s motion to withdraw in 17‐2858.
